Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 1 of 9 PageID #: 15190




        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        UNITED STATES OF AMERICA                            MEMORANDUM & ORDER
                      -against-                             18-CR-204-1 (NGG) (VMS)
        KEITH RANIERE,
                                  Defendant.


              NICHOLAS G. GARAUFIS, United States District Judge.
              Following a six-week jury trial, Defendant Keith Raniere was con-
              victed of racketeering, racketeering conspiracy, wire fraud
              conspiracy, forced labor conspiracy, sex trafficking conspiracy,
              and two counts of sex trafficking. Now before the court is De-
              fendant’s motion for a new trial pursuant to Rule 33 of the
              Federal Rules of Criminal Procedure. (See Mot. for New Trial
              (Dkt. 851); Corrected Mem. in Supp. of Mot. for New Trial
              (“Mem.”) (Dkt. 854-1); Mem. in Opp. to Mot. for New Trial
              (“Opp.”) (Dkt 866).) Defendant contends he is entitled to a new
              trial based on newly discovered evidence, to wit, a lawsuit to
              which some of the Government’s trial witnesses appear to be par-
              ties, which was filed more than seven months after his criminal
              trial concluded. Defendant asserts that the fact of this lawsuit is
              proof that these witnesses perjured themselves when they testi-
              fied that they did not then intend to bring a civil suit against him
              and, further, that the Government knew or should have known
              that this testimony was false. The court disagrees. Defendant’s
              motion is therefore DENIED. Further, because Defendant has not
              demonstrated that any testimony given at trial was actually false,




                                               1
Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 2 of 9 PageID #: 15191




              his request for an evidentiary hearing is likewise DENIED and his
              request for oral argument is DENIED AS MOOT.1

                  BACKGROUND

              The court assumes familiarity with the relevant facts and proce-
              dural history of this case and summarizes them only to the extent
              they are relevant to this motion.
              Daniela and Nicole,2 both victims of the conduct for which De-
              fendant was convicted, testified for the Government at trial.
              Present for their testimony was Neil Glazer, an attorney whom
              they had individually retained and who had accompanied them
              to at least some of their interviews with the Government prior to
              trial. (See Mem. at 5-6 & n.8 (listing 3,500 materials reflecting
              Glazer’s presence at interviews). Mark Vicente, another Govern-
              ment witness, testified on direct examination that he had also
              retained Glazer to assist in “potential civil matters” (Trial Tran-
              script (“Tr.”) at 740-41), although Glazer was not present for his
              testimony. On cross-examination, defense counsel did not ask Vi-
              cente about his retention of Glazer or whether he intended to file
              a lawsuit against Defendant.
              On cross-examination of Daniela and Nicole, defense counsel
              asked each whether they had retained Glazer and whether they
              planned to bring a civil suit against Defendant in the future. Dan-
              iela acknowledged that she had retained Glazer, at first to handle
              “the precarious situation with [her] little sister” and then “to in-
              teract with officials from the government” but repeatedly denied
              that she, at that point, had any intent to bring a civil suit against

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                The court has redacted certain information relating to documents that
              are not part of the trial record from this Memorandum & Order. Concur-
              rently herewith, the court has filed a Sealed Memorandum & Order with
              this information in unredacted form.
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                In accordance with this court’s order of May 4, 2019, the court refers to
              all DOS members by their first names only.




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Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 3 of 9 PageID #: 15192




              Defendant or NXIVM. (Tr. at 3275-76.) Defense counsel also
              asked Daniela how she came to hire Glazer, whether she had got-
              ten his name from Vicente, and whether she had discussed the
              possibility of bringing a civil suit against Defendant with anyone
              else; however, the Government objected to these questions and
              the court sustained those objections. (Id.) Nicole testified that she
              hired Glazer because she wanted to “protect [her]self,” dis-
              claimed any intent at that time to bring a civil suit or to
              participate in a class-action lawsuit, and twice testified that she
              had not discussed the prospect of doing so with anyone else. (Id.
              at 4269, 4276-77.)3
              Jay, a third victim who testified for the Government, testified on
              direct examination that she had also retained Glazer. (Tr. at
              4452.) Defense counsel did not probe further on this topic on
              cross examination, which counsel now asserts was because “it
              was apparent that the court would not permit the defendant to
              … ask probing questions tending to unearth the clear collusion
              among the witnesses or their intention to bring a civil suit.”
              (Mem. at 14.)
              On January 28, 2020, over seven months after the jury returned
              its verdict (and nearly eight months after Daniela testified),
              Glazer filed a civil lawsuit on behalf of more than 80 individuals,
              including Vicente, against, inter alia, Defendant and NXIVM (the
              “Civil Suit”). See Compl., Edmonson v. Raniere, No. 20-cv-485
              (EK). While most plaintiffs in the Civil Suit are proceeding under
              pseudonyms, Defendant contends that allegations attributed to

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                In response to her first denial of having spoken to anyone else about the
              prospect of filing a civil suit, defense counsel asked Nicole whether she had
              told the FBI that Frank Parlato was pressuring her to do so. (Tr. at 4269-
              70).
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                                         -                  - -
                          Nicole reiterated that she had no recollection of telling the FBI
              that Parlato had pressured her to join a civil suit. (Tr. at 4275.)




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Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 4 of 9 PageID #: 15193




              certain Jane Doe plaintiffs indicate that Daniela, Nicole, and Jay
              are plaintiffs in the Civil Suit. (See Mem. at 14-17.)4

                   LEGAL STANDARD

              Although Rule 33 endows district courts with the authority to or-
              der a new trial “if the interest of justice so requires,” Fed. R. Crim.
              Pro. 33, this authority is to be used sparingly and only where the
              court harbors “a real concern that an innocent person may have
              been convicted,” United States v. Canova, 412 F.3d 331, 349 (2d
              Cir. 2005).5 See also, e.g., United States v. Snyder, 740 F. App’x
              727, 728 (2d Cir. 2018) (summary order) (“A district court ordi-
              narily should not grant a new trial unless it is convinced that the
              jury has reached a seriously erroneous result or that the verdict
              is a miscarriage of justice.”). A motion for a new trial “based on
              allegations of perjured testimony should be granted only with
              great caution and in the most extraordinary circumstances.”
              United States v. McCarthy, 271 F.3d 387, 399 (2d Cir. 2001), ab-
              rogated on other grounds by Eberhart v. United States, 546 U.S.
              12, 126 (2005). “To prevail, a defendant must show [that](i) the
              witness actually committed perjury; (ii) the alleged perjury was
              material; (iii) the government knew or should have known of the




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                Defendant initially contended in his motion that, although he had not
              identified them through any of the complaint’s allegations, he nonetheless
              had “every reason to believe” that four more individuals whom Glazer rep-
              resented in interviews with the Government were also participating as
              Plaintiffs. (Mem. in Supp. of Mot. (Dkt. 853) at 6 n.7.) Defendant, how-
              ever, was forced to retract this assertion after Glazer advised his counsel
              that these four individuals were not, in fact, plaintiffs. (Letter Submitting
              Corrected Mem. (Dkt. 854).)
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                When quoting case law, except as otherwise noted, all citations and in-
              ternal quotation marks are omitted, and all alterations are adopted.




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Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 5 of 9 PageID #: 15194




              alleged perjury at the time of trial, and (iv) the perjured testi-
              mony remained undisclosed during trial.” Id.6 Although failure to
              show that the prosecution knew or should have known of the
              perjurious nature of the testimony in question does not preclude
              the grant of a new trial, under such circumstances “a defendant
              can obtain a new trial only where the false testimony leads to a
              firm belief that but for the perjured testimony, the defendant
              would most likely have not been convicted.” United States v.
              Stewart, 433 F.3d 273, 297 (2d Cir. 2006). If, however, the de-
              fendant demonstrates that the prosecution knew or should have

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                Where, as here, a defendant supports his motion with “newly discovered”
              evidence of perjury, the court must also consider whether such evidence
              is, in fact, “newly discovered” within the meaning of Rule 33, i.e., that it
              could not have been discovered with the exercise of reasonable diligence
              before or during trial. See, e.g., Canova, 412 F.3d at 349. In this case, how-
              ever, there is no question that Defendant could not have discovered the
              existence of the Civil Suit before or during trial. as it was not filed until
              several months after the trial concluded.
              The court notes separately, however, that Defendant proffers the fact that
              Mr. Glazer represented a large number of witnesses in interviews with the
              Government, as well as certain of the Government’s evidentiary objections
              (sustained by this court), as proof that the Government knew or should
              have known about the alleged perjury that forms the basis of his motion.
              Glazer’s representation of certain witnesses is not “newly discovered,” as
              Defendant concedes that he was aware of the representation before and
              during trial. Meanwhile, the fact that the Government made certain objec-
              tions, which the court sustained, is not “evidence” of anything, newly
              discovered or otherwise, and Defendant’s reliance on these episodes ap-
              pears to be little more than a clumsy attempt to launder untimely
              objections to the court’s evidentiary rulings into a timely motion based on
              new evidence. (See, e.g., Mem. at 22-23 (arguing that interposition of ob-
              jections denied Defendant his right to confront witnesses against him).)
              That argument is, in any event, belied by the record; having cured the de-
              fects in similar questions posed to Daniela, counsel was permitted to ask
              Nicole, for example, whether she had discussed the possibility of bringing
              a civil suit with anyone else, including with Jay (whom counsel specifically
              named). Counsel’s failure to ask Jay similar questions cannot be explained
              by his conclusion that the court would not permit him to do so—an argu-
              ment that is, in any event, unpreserved and untimely.




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Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 6 of 9 PageID #: 15195




              known about the perjury, “the conviction will be set aside if there
              is any reasonable likelihood that the false testimony could have
              affected the judgment of the jury.” United States v. Torres, 128
              F.3d 38, 49 (2d. Cir. 1997).
              In deciding whether to grant a motion for a new trial, “a district
              court may itself weigh the evidence and the credibility of wit-
              nesses, but in doing so, it must be careful not to usurp the role of
              the jury.” United States v. Nordlicht, No. 16-cr-640, 2019 WL
              4736957, at *16 (E.D.N.Y. Sept. 27, 2019). Further, although the
              court may hold an evidentiary hearing, it is not obligated to do
              so. See United States v. Ghavami, 23 F. Supp. 3d 148, 157
              (S.D.N.Y. 2014) (“Whether to hold an evidentiary hearing before
              deciding a motion for a new trial rests within the district court’s
              discretion.”); see also United States v. Helmsley, 985 F.2d 1202,
              1209-10 (2d Cir. 1993) (district court may properly decline to
              hold hearing where “[t]he moving papers themselves disclosed
              the inadequacies of the defendant[’s] case”). In particular,
              where, as here, the evidence submitted relates to allegations of
              perjury, courts need not consider whether to hold a hearing un-
              less the defendant meets his threshold burden of demonstrating
              that false testimony was offered. See United States v. Aquart, 912
              F.3d 1, 22 (2d Cir. 2018) (“[U]ntil actual falsity is shown, there
              is no concern for the integrity of the process requiring judicial
              hearings.”).

                  DISCUSSION

              The Civil Suit cannot carry the weight that Defendant asks it to
              bear. For Defendant to meet his threshold burden to demonstrate
              that Daniela and/or Nicole committed perjury, he must introduce
              evidence that either or both of them gave “false testimony con-
              cerning a material matter with the willful intent to provide false
              testimony.” United States v. Monteleone, 257 F.3d 210, 219 (2d
              Cir. 2001). Assuming for present purposes that Daniela and Ni-
              cole are, in fact, among the Jane Doe plaintiffs in that action




                                               6
Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 7 of 9 PageID #: 15196




              (which appears to be the case), this hardly proves that either of
              them had determined to join that action when they testified at
              trial more than six months before it was filed. In fact, the com-
              plaint, insofar as it is evidence, says nothing about their state of
              mind at the time they testified, which is the sine qua non of any
              charge of perjury.
              Moreover, the court cannot discern any basis to believe that ei-
              ther of them had any reason to lie about whether they intended
              to sue Defendant. Both Daniela and Nicole sat for lengthy cross-
              examination during which, as the Government notes, they an-
              swered forthrightly questions that appeared to have been
              intended to elicit evidence of their respective biases against De-
              fendant and admitted that they were angry with him without any
              equivocation. (See, e.g., Tr. at 3089-94, 3166-79, 4209.) Further,
              given the content of their testimony (which included, for exam-
              ple, Daniela testifying at length about how she had been confined
              to a room for roughly two years after admitting to Defendant that
              she had feelings for another man), it would have been utterly
              unremarkable had either Daniela or Nicole confessed an intent
              to sue Defendant (an intent which, the court notes again, another
              witness freely admitted). As such, the fact that they affirmatively
              disclaimed a present intent to sue Defendant months before join-
              ing a suit against him is, on its face, persuasive evidence of little
              more than the fact that they changed their minds at some point
              between testifying at trial and filing the complaint in the Civil
              Action. Moreover, because Defendant has failed to meet his ini-
              tial burden to prove the falsity of any testimony offered at his
              trial, the court sees no need to hold an evidentiary hearing on
              this issue.
              Even if the court were to conclude otherwise, Defendant’s con-
              tention that the Government knew or should have known of the
              “perjury” is facially absurd. As previously noted, the key facts on
              which these accusations rest—namely that several witnesses had




                                               7
Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 8 of 9 PageID #: 15197




              retained Glazer to represent them—are not “newly discovered”
              evidence by any definition. To the contrary, Defendant was fully
              aware of these facts prior to and during the trial and cross-exam-
              ined witnesses on these very topics. See United States v. Bout, 144
              F. Supp. 3d 477, 487 (S.D.N.Y. 2015) (“Rule 33 does not allow
              for a new trial based on evidence that could have been discov-
              ered before trial, let alone evidence that was part of the trial
              record.”). Even assuming, however, that this evidence were cog-
              nizable on this posture, it would not support the conclusion that
              the Government played any role in suborning the “false” testi-
              mony. Defendant effectively asks this court to infer that, because
              the Government knew that the witnesses had retained Glazer,
              and Glazer ultimately represented some of them in the Civil
              Suit,7 the Government must have known about the Civil Suit,
              and Daniela and Nicole’s putative intent to participate in it, dur-
              ing the trial. The infirmity of this argument is self-evident, and
              the court declines to address it further.
              As such, even if Defendant had demonstrated that either Daniela
              or Nicole had perjured herself, he would be entitled to a new trial
              only if the court believed that but for the perjured testimony, De-
              fendant would not have been convicted. See Stewart, 433 F.3d at
              296-97. The court is not so convinced. As an initial matter, “[t]he
              discovery of new evidence which merely discredits a government
              witness and does not directly contradict the government’s case
              ordinarily does not justify the grant of a new trial.” United States
              v. Jones, __ F.3d __, 2020 WL 3956257, at *11 (2d Cir. 2020).
              That is especially true here where, as previously noted, it would
              not have been remotely unusual for Daniela or Nicole to have
              admitted an intent to sue Defendant, and there is simply no rea-
              son to believe that the jury would not have credited their
              testimony had either or both of them admitted as much over the

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               Although, as previously noted, some of the witnesses Glazer represented
              have, in fact, not joined the Civil Suit.




                                                 8
Case 1:18-cr-00204-NGG-VMS Document 902 Filed 07/17/20 Page 9 of 9 PageID #: 15198




                 course of the lengthy cross-examination to which they were sub-
                 ject. Moreover, it is apparent that Defendant himself did not
                 consider the potential for civil litigation to be especially signifi-
                 cant; despite the fact that Vicente admitted that he was
                 considering a suit against Defendant, his counsel did not ask a
                 single question on this topic during his lengthy cross-examination
                 of Vicente. And despite Defendant’s assertion in his motion that
                 the jury would have acquitted him had they only known that
                 Daniela, Nicole, and Jay all intended to sue him at some point in
                 the future, he evidently did not feel it necessary to even ask Jay
                 whether she intended to sue him when he had the opportunity
                 to do so. In any case, having observed both Daniela and Nicole’s
                 testimony, the court sees no reason to disturb the jury’s determi-
                 nation that they were anything but credible witnesses who
                 offered powerful evidence of Defendant’s guilt.

                     CONCLUSION

                 For the foregoing reasons, Defendant’s (Dkt. 851) Motion for a
                 New Trial is DENIED, his request for an evidentiary hearing is
                 likewise DENIED, and his request for oral argument is DENIED
                 AS MOOT.
        SO ORDERED.
        Dated:      Brooklyn, New York
                    July 16, 2020

                                                              _/s/ Nicholas G. Garaufis_
                                                              NICHOLAS G. GARAUFIS
                                                              United States District Judge




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